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                                                                        2021 Apr-23 AM 11:13
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


                UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA
                      EASTERN DIVISION


FRED CRUM,                }
                          }
    Plaintiff,            }
                          }
v.                        }               Case No.: 1:20-cv-00550-ACA
                          }
RESOLUTE FOREST PRODUCTS, }
                          }
    Defendant.            }


                              FINAL ORDER

     Consistent with the accompanying memorandum opinion, the court

DISMISSES this action WITH PREJUDICE.

     The court DIRECTS the Clerk to close this case.

     DONE and ORDERED this April 23, 2021.



                                 _________________________________
                                 ANNEMARIE CARNEY AXON
                                 UNITED STATES DISTRICT JUDGE
